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                          IN THE UNITED STATE DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

STATE OF GEORGIA,                                §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §        CIVIL ACTION No. 10-CV-1062
                                                 §
ERIC H. HOLDER, JR.,                             §        Three-Judge Panel: ESH-TBG-HHK
ATTORNEY GENERAL OF THE                          §
UNITED STATES,                                   §
                                                 §
        Defendant.                               §

 GEORGIA ASSOCIATION OF LATINO ELECTED OFFICIALS’ MOTION FOR LEAVE
        TO FILE AMENDED MOTION TO INTERVENE AS DEFENDANT

        Come now, Defendant-Intervenor Georgia Association of Latino Elected Officials (“GALEO”)

and respectfully moves this Court for leave to file an Amended Motion to Intervene as Defendant

pursuant to L. R. CIV. P. 7(i). The Amended Motion contains a revised Certificate of Conference

clarifying Defendant’s and Plaintiff’s positions as to GALEO’s Motion to Intervene as Defendant.

        GALEO does not submit this motion to cause undue burden or delay, it advances the interests

of all parties involved, and no party will be prejudiced by the Court’s grant of this motion.

        For the foregoing reasons, GALEO respectfully requests that this Court grant its Motion for

Leave to File Amended Motion to Intervene as Defendant.
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DATED: July 16, 2010   Respectfully submitted,


                               /s/ Nina Perales
                              NINA PERALES
                              District of Columbia Bar No. TX0040
                              MEXICAN AMERICAN LEGAL DEFENSE &
                              AND EDUCATIONAL FUND
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                                CERTIFICATE OF CONFERENCE


        Counsel for Movant Defendant-Intervenor GALEO conferred with Defendant’s counsel on July

13, 2010, and Plaintiff’s counsel on July 14, 2010, concerning this motion to intervene. Defendant does

not oppose permissive intervention. Plaintiff did not oppose this motion.


                                        /s/ Nina Perales
                                        Nina Perales




                                   CERTIFICATE OF SERVICE

        I, Nina Perales, hereby certify that on July 16, 2010, I caused to be served a copy of the

foregoing through the Court’s CM/ECF filing system to counsel of record.


                                        /s/ Nina Perales
                                        Nina Perales
